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12
                                    UNITED STATES DISTRICT COURT
13                         CENTRAL DISTRICT OF CALIFORNIA, WESTERN D IVISION

14
        JENNY LISETTE FLORES, et al.,                     )   Case No. CV 85-4544 DMG (AGRx)
15                                                        )
                 Plaintiffs,                              )
16      - vs -                                            )   [REDACTED] EXHIBITS IN
17                                                        )   SUPPORT OF PLAINTIFFS’
        JEFFERSON B. SESSIONS, ATTORNEY GENERAL           )
18      OF THE UNITED STATES, et al.,                     )   RESPONSE TO DEFENDANTS’
                                                          )   FIRST JUVENILE COORDINATOR
19               Defendants.                              )   REPORTS VOLUME 1 OF 12
20
                                                          )   [FILED UNDER SEAL PURSUANT
                                                              TO ORDER OF THE COURT
21                                                            DATED JULY 16, 2018]
22
                                                              [HON. DOLLY M. GEE]
23
                                                              Hearing: July 27, 2018
24                                                            Time: 10 AM

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1         223. Declaration of Diego Mxx xxxxx

2         224. Declaration of Kevin Yxxxx xxxxx xxxxxx

3         225. Declaration of Elmer Exxxxxx xxxxx xxxxx

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        PLAINTIFFS’ RESPONSE TO FIRST
        JUVENILE COORDINATOR REPORTS                      CV 85-4544-DMG (AGRX)
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                          Exhibit 1
                                                                           1
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                              DECLARATION OF PETER SCHEY

          I, Peter Schey, depose and say:

          1. I serve with Carlos Holguin as class counsel in the case entitled Flores v.

    Sessions, Case No. CV 85-4544 DMG (AGRx).

          2. According to monthly data provided to Plaintiffs’ class counsel by

    defendants, Casa Padre (operated by Southwest Key) is the largest facility

    operated by Defendants for unaccompanied children and currently holds

    approximately 900 class members for weeks or months. Based on a site inspection

    and class member interviews conducted pursuant to Paragrapghs 32 and 33 of the

    Flores Agreement by 26 volunteer lawyers on July 12 and 13, 2018, and the

    statements of facility staff and numerous class members, class counsel is informed

    and believes that the facility is fully secure in violation of Paragraph 6 (licensed

    group home shall be “non-secure”). Class counsel has informed Defendants that

    they wish to conduct further site inspections and class member interviews at other

    facilities where the Office of Refugee Resettlement (ORR) houses detained

    unaccompanied minors (including recently separated minors) between July 23 and

    August 3, 2018. However, monitoring is always ongoing and Plaintiffs believe the

    current material breaches are so serious and jeopardizing class members’ health,

    safety and the exercise of their rights under the Agreement, that the status

    conference scheduled for July 27, 2018, should not be postponed.



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          3. Per policy instruction, unaccompanied children are “provided the

    opportunity to make a minimum of two telephone calls per week (10 minutes

    each) to family members and/or sponsors …” Children Entering the United States

    Unaccompanied: Section 3.3.10 Telephone Calls, Visitation, and Mail (Jan. 28,

    2015). Interviews with numerous separated class members at Casa Padre on July

    12 and 13, 2018, indicate many are unable to contact their parents because they do

    not know where they are detained by Defendants, and many others are permitted

    only one 10 minute telephone call a week.

          4. Under Paragraph 32, class counsel has the right to interview class

    members. Class counsel seek and obtain the consent of parents at a family

    detention facilities prior to interviewing class member children. By separating

    class members from their parents without a plan to maintain parental decision-

    making, Defendants made class members’ parents unavailable to class counsel to

    seek consent to interview their children. Despite numerous requests over the past

    two weeks to meet and confer about being provided the names and locations of

    separated class members’ parents, Defendants have declined, making obtaining

    consent for class member interviews under Paragraph 32 almost impossible.

    Because of the urgency of the situation caused by the family separations, and

    under objection, class counsel commenced interviews with separated class

    members at Casa Padre on July 12 and 13, 2018.



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          5. The over 200 declarations being filed with Plaintiffs’ Memorandum as

    exhibits were gathered during monitoring inspections and class member

    interviews conducted in June and July 2018 at various CBP stations in several

    states and all three ICE family detention centers. Plaintiffs are submitting as

    exhibits all declarations provided by class members or parents.

          6. In a small number of cases, in different ways, class members or their

    parents commend Defendants for their treatment with regards edible food, clean

    drinking water, mats to sleep on, blankets, toiletries, soap, cells not being

    overcrowded, being told of their rights, or being treated with respect and dignity.

    However, the overwhelming majority of class members and parents interviewed in

    June and July 2018 -- probably about 90% -- provide testimony that is shocking

    and atrocious. It amounts to a picture not just of forcibly separating thousands of

    children from their parents, but on a much broader level of a program of forced

    hunger, forced thirst, forced sleep deprivation, coupled with routine insults,

    threats, and physical assault, that leave class member children crying, trembling,

    hungry, thirsty, sleepless, sick, and terrified. Mental health experts agree that

    many class members will never fully recover from the terror and humiliation they

    experienced in Defendants’ custody.

          Executed this 15th day of July, 2018, in Oak View, California.



                                                   Peter Schey
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                                                                                        4
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                          Exhibit 2
                                                                           5
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                         List of Licensed Group Homes and Homeless Youth Centers
                                                  (last updated on July 12, 2018)

In July 2018, a small group of volunteers contacted licensed group homes and homeless youth centers across the country to identify
locations that may have bed space for unaccompanied minors. We identified cities with large populations of Central American
immigrants, and researched or called each individual center. The following questions were asked and captured during the
conversation. This list is not exhaustive but is a first step is compiling a list of homes that unaccompanied minors may transition to.

       1. Homeless shelter/licensed group home address, phone number. Include any info on the shelter- what's nearby, a picture,
       types of activities, special info, languages spoken, etc.
       2. Specific POC, email and phone number of person that handles intake of unaccompanied minors
       3. Any kind of demographic info on the shelter that can help an unaccompanied minor choose a shelter to go to.
           ● Are there restrictions on the # of boys vs. the # of girls?
           ● Is there an age restriction at the shelter?
           ● Are undocumented children OK? They may be applying for political asylum or special immigrant juvenile status but still
              need a shelter in the meantime.
       4. Approx. # of total beds in the shelter in total
       5. Approx. # of total beds available currently vs. # available next week July 16th, July 23rd, 30th, August 6th, August 13th?


  State             Facility                Website         POC                    Conditions                  Total   # Beds   Spanish
                                                                                                                # of    Avail   Speakin
                                                                                                               Beds                g

  MN      The Bridge for Youth         http://www.bridg                Beds are first come first serve- call                    Y
          1111 West 22nd Street        eforyouth.org/                  first
          Minneapolis, MN 55405                                        (612) 230-6601
                                                                            - Youth ages 10-17
                                                                            - Do an assessment with the
                                                                              youth and go over history
                                                                              with the youth
                                                                            - Would still face to face
                                                                              meet with them and see if


                                                                   1
                                                                                                                                          6
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                                                                       you can provide

GA   CARRIE STEELE PITTS     http://csph.org/joi Evelyn        12-18 yr olds.
     HOME, INC.              n-us/               A.            The residential care program at the
     667 Fairburn Road                           Lavizz        Home includes basic daily care up to
     Atlanta, GA 30331                           o PhD,        20 youth; therapeutic programming to
                                                 Execut        meet the increased needs of
                                                 ive           adolescents in foster care, a
                                                 Directo       fitness/nutrition program and adaptive
                                                 r             supportive educational services. The
                                                 404-          youth that live at CSPH are faced with
                                                 691-          greater psychological, educational,
                                                 9974          emotional and health challenges than
                                                               in past years.

IL   Mercy Home for Boys &                                     Admission process- unable to
     Girls                                                     provide bed numbers


GA   Families First          https://www.famil   404-          Each cooperative can serve
     80 Joseph E. Lowery     iesfirst.org/       853-          6-7 teens at one time
     Boulevard, NW                               2800
                                                               2 Cooperatives
     Atlanta, GA 30314-                                        Female and Male Ages 13-
     3421                                                      20
                                                               Weekly group counseling
                                                               sessions.
                                                               Goal is to ensure success in
                                                               each child by the age of 25.


IL   Access Points           www.csh.org         Milagr        Emergency shelter                        Y
     Puerto Rican Cultural                       os              - 21 day stay
     Center                                      Perez-          - 14-17 year olds - point is to
     872-829-2654                                contac              avoid foster care and
     (same as El Rescate)                        t, not              promotes unification


                                                           2
                                                                                                            7
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                                                      necess          -   If youth is locked out or
                                                      arily               kicked out of home
                                                      minors              generally
                                                                      -   Would need to discuss with
                                                                          funding/coordinator - family
                                                                          youth and services bureau
                                                                      -   4 beds available
                                                                      -   Will call back

IL     The Catholic Charities of                                   Left message for Vice-President of
       Chicago                                                     Child, Youth and Family Services
                                                                   Laura Rios

IL     DCFS - Il department of                                     John Egan
       children and family                                         312-328-2269
       services                                                    Dept of DCFS - housing and beds
                                                                      - Left VM

OR     Janus Youth Programs,       http://www.janus   Use          Beds are first come first served-     60 in unknow        yes
       Inc.                        youth.org          websit       call 503-432-3986                     summ n
                                                      e for                                              er
                                                      contac
                                                      t info
                                                      503-
                                                      432-
                                                      3986

OR     Station 7-Looking Glass                                     They will call me back

N CA   Diamond Youth Shelter       https://larkinstree 415-        San Francisco                         Up to   9           Yes - 1
                                   tyouth.org/         567-        12-17                                 15      available   staff
                                                       1020        require subpoena for police entry             as of       member,
                                                                   Do take pregnant teens                        Friday      trying to
                                                                   Contact for intake:                                       get more
                                                                   Monique Thomas
                                                                   415-567-1020


                                                               3
                                                                                                                                     8
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N CA   Huckleberry House    https://www.huck    (415)       San Francisco                          Up to     Totally    Yes -
                            leberryyouth.org/   621-        12-17                                  6         depends    50%
                                                2929
                            contact-us/                     Have taken kids from ORR before                  -1
                                                            Focus on family reunification                    maybe 2
                                                            (overall, not just in immigration
                                                            context)
                                                            Patrick Buckaelw
                                                            Katie Reisinger

N CA   Dreamcatcher         http://www.alame                Alameda                                Up to     Varies a   Sometim
                            dafs.org/dreamc 510-            13-18                                  12        lot -      es - 1
                            atcher/          522-           Emergency short-term placement         Up to     maybe 1    right now
                                             8363           shelter only - 21 days max - don’t     20        or 2 -
                                             800-           get funding from state placement       startin   maybe
                                             379-           services - will receive referrals      g in      more in
                                             1114           from anywhere/one for emergency        Octob     October
                                                            safe shelter                           er

                                                            Whoever answers phone


N CA                                                        San Jose

                                                            Deborah Pell at Bill Wilson Center
                                                            - she didn’t think they would be the
                                                            right place to call, recommended:

                                                            Catholic Charities - have ORR
                                                            contract - they have MOUs with
                                                            Bill Wilson Center if needed

                                                            408-468-0100

                                                            Angela Albright - left message


                                                        4
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N CA   Social Advocates for      https://www.says   707-         Need a parent signature within 72   Up to    Varies,     Yes -
       Youth                     c.org/programs/t   546-         hours                               6        probably    usually at
                                 he-dr-james-e-     3432         12-17                                        2-3         least 1
                                 coffee-house-
                                 emergency-teen-                 Shauna Rundstrum
                                 shelter/

N CA   Sanctuary Youth Shelter   http://www.fresn (559)          Fresno
                                 oeoc.org/sanctua 498-
                                                  8543
                                 ry-youth-shelter                No answer

N CA   New Morning               https://www.new                 Placerville                         12       Varies a    Yes - 1
                                 morningyfs.org/2   530.62       6 -17                                        lot -       clinician
                                 4-hour-shelter     6.4190       Currently licensed as a level 4              currently   speaks
                                                                 group home, kids without                     have 4      Spanish
                                                                 behavioral/mental health                     (2 boy, 2   but she
                                                                                                              girl)       needs to
                                                                 Changing license to runaway                              be
                                                                 youth homeless shelter - once                            brought
                                                                 license switches - 30 day max                            in

                                                                 On site counselor

                                                                 Annah Wilson
                                                                 Shelter Director
                                                                 annah@newmorningyfs.org

N CA   Wind Youth Services       https://www.wind   (916)        Sacramento                          3        Varies      Yes
                                 youth.org/progra   504-         13-24                               locati
                                 ms/emergency-      3313                                             ons
                                 youth-shelter/                  Homeless youth shelter
                                                                 This number is the right starting
                                                                 point.


N CA   Hutton House              https://www.cent   (209)        Modesto                             Up to    Varies      Yes


                                                             5
                                                                                                                                 10
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                                erforhumanservi 526-                                            8
                                ces.org/what-we- 1623        13-17
                                do/shelter-                  Cannot take any children under
                                services/hutton-             CPS care
                                house/
                                                             Family reunification, counseling

                                                             Anyone at the number - 24/7

N CA   Genesis House            https://www.gene 559-        Visalia
                                sis-house.org/   280-
                                                 4619        11-17

                                                             Left message

N CA   Tahoe Youth and Family                                South Tahoe
       Services
                                                             Host home - have a network of
                                                             approved homes

                                                             Left message

??     Casa Libre               www.casa-                    It is a licensed emergency and     4
                                libre.org                    long-term 14-bed shelter for       beds
                                                             minors under the age of 18         availa
                                                             without homes, including           ble
                                                             unaccompanied immigrant and        curre
                                                                                                ntly
                                                             refugee children.
S CA   Covenant House CA        www.covenantho Raymo Shelter for youth ages 18-24, none         2        Unsure   Yes
       East Hollywood           usecalifornia.org nd      under age of 18. Accept walk-ins.     beds
                                323-461-3131      (Shelte All genders accepted                  for
                                                  r)                                            males
                                                                                                ,
                                                                                                Waitli
                                                                                                st for

                                                         6
                                                                                                                        11
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                                                                                              femal
                                                                                              es (2-
                                                                                              3 wk)

S CA   Covenant House CA     200 Harrison St. 510-          Males and females 18-24. Same     4                   Spanish
       Oakland               www.covenantho 379-            as above                          mont
                             usecalifornia.org 1010                                           h wait
                                               qrevol                                         list.
                                               orio@                                          Emer
                                               covca.                                         gency
                                               org                                            bed
                                               Quoca                                          situati
                                               vib                                            on on
                                                                                              coach
                                                                                              es (3
                                                                                              nights
                                                                                              )

S CA   DMH Enhanced          LA County        213-          Network of emergency shelters     Imme      Unsure     Spanish
       Emergency Shelter                      738-          throughout LA County for youth    diate     of future. Armenian
       Program                                6194          age 18-25. They offer a 36 day    openi     Call and Russian
                                              “Nare”        program for youth to access       ngs       get put
                                              Admin         resources, case worker, helath,             on list
                                              “Willia       etc.                                        for a
                                              m”            *Must also have mental health               intake
                                              Gatek         concern
                                              eeper         Welcoming of Transgender
                                              No            community :)
                                              websit
                                              e
                                              given

S CA   Jovenes, Inc          LA               Luis          Emergency and transitional        ?         ?         Spanish
                                              Medin         housing for MALES only, 18-24     (Left
                                              a                                               mess
                                              323-                                            age)


                                                        7
                                                                                                                        12
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                                                  260-
                                                  8035 X
                                                  102
                                                  www.j
                                                  ovensi
                                                  nc.org

S CA   LA Youth (LAYN)          1550 N. Gower     intake Emergency shelter for youth, 12-             Sent    ?
                                St. LA            @layn. 17                                           email
                                                  org

S CA   Homes For LIfe           San Gabriel CA    310-           Mental health diagnosis required,    Yes-    ?
                                (Housing          337-           chronic homeless                     Grou
                                Locations vary)   7417           Adults 18-59, registration with LA   p
                                                  www.h          County referral                      home
                                                  omesf          program_Pasadena, CA                 s
                                                  orlife.o       Contact: 626-438-8776                range
                                                  rg             Torrance, CA Contact: Harbor         6-9
                                                                 Interfaith                           peopl
                                                                 424-276-3609                         e

S CA   Salvation Army The Way                     Kenji          Not an emergency shelter,            5           Spanish
       In                                                        transitional housing with case
                                                                 mangement services
                                                                 Females 18-21 (no beds) Males
                                                                 18-25 available beds
                                                                  Intake: call to do a screening,
                                                                 when something is open they call
                                                                 you back, things change by the
                                                                 hour so leave info. Accepting of
                                                                 undocumented migrants

S CA   Angel’s Flight                             213-           Housing for at-risk, Call for any    16          Spanish
                                                  318-           assistane with immigration issues!   Total
                                                  5732           House for Children 10-17
                                                  Spanis         Spanish-speaking intake available    10


                                                             8
                                                                                                                        13
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                                                      h                                                 beds
                                                      Speaki          First step is to call intake!     now
                                                      ng Ask
                                                      for
                                                      Angie
                                                      Lopez

                                                      213-
                                                      318-
                                                      5730
                                                      Gina
                                                      Parker
                                                      Rudy
                                                      Trujillio

TX   Catholic Charities Youth    http://cctxp.org/e   ssteel          Emergency shelter for both        Unabl
     Shelter at Pearl Longbine   mergency-youth-      man@            genders, ages 5-17 for up to 90   e to
     Cottage                     shelter/             cctxp.o         days. Needs referrals. Operated   leave
                                                      rg              by Catholic Charities.            a
                                                       (806)                                            mess
                                                      376-                                              age.
                                                      4571                                              Infor
                                                                                                        matio
                                                                                                        n
                                                                                                        from
                                                                                                        CASA
                                                                                                        CAR
                                                                                                        ES
                                                                                                        site.

TX   ACH Tarrant County                               682-   Licensed full service agency; has          Need
                                                      432-   an emergency shelter,can do                s
                                                      1080   foster care if funding available.          more
                                                      meliss                                            infor
                                                      a.ophe                                            matio
                                                      im@ac                                             n;


                                                                  9
                                                                                                                14
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                                         hservic                                          willing
                                         es.org                                           to
                                         Meliss                                           help if
                                         a                                                specif
                                         Ophei                                            ic
                                         m                                                infor
                                                                                          matio
                                                                                          n
                                                                                          provid
                                                                                          ed.

MA   Crossroads Family Center            Laure      State funded family shelter so
                                         n          don’t think they are permitted to
                                         Anton      take unaccompanied miors, but
                                         elli,      “desperately” wants to help and
                                                    open to all ideas about how!
                                         M.A,L
                                         antonell
                                         i@ebcr
                                         ossroad
                                         s.org,
                                         (617)
                                         567 -
                                         5926
                                         ext. 21

TX   Assessment Center of                ycastr     Part of Catholic Charities. Unable    Sent
     Tarrant County                      o@ccd      to reach by phone; only between       email
                                         ofw.or     8-12pm. Licensed shelter;             s to
                                         g;         intended primarily for assessment,    both.
                                         ics@c      no supervisors, 90 day limit
                                         cdofw.
                                         org

TX   Azleway                             903        Faith based; residential placement
                                         566        for neglected and abused kids
                                         8444       only. Possible resource if there is

                                                   10
                                                                                                    15
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                                                             a diagnosis--and funding.


TX    BCFS, several sites      bcfs_tfc_intakes     210      Needs referrals from the centers.     No
                               @bcfs.net            208      Already works with the State of       infor
                                                    5669     Texas and ORR to house minors.        matio
                                                             Appears to be a foster care           n on
                                                             system, not emergency shelters.       beds
                                                                                                   witho
                                                                                                   ut
                                                                                                   referr
                                                                                                   al
                                                                                                   infor
                                                                                                   matio
                                                                                                   n.

TX    RMYA, The Bridge         http://www.rmya.     (210)    Co-ed facility that serves children   Left
                               org/                 340-     between 5-17 years old on a           VM
                                                    7933     temporary basis (1-30 days). Has a    for
                                                             structured program.                   direct
                                                                                                   or to
                                                                                                   call
                                                                                                   back

NYC   Covenant House New       https://ny.covena    212-   Age 16-24
      York                     nthouse.org/crisi    613-   awaiting return call or email
      460 West 41st Street,    s-center             0300,
      New York, NY 10036-                           info@c
      6801                                          ovena
                                                    nthous
                                                    e.org

NYC   Ali Forney Center        https://www.alifor   (212)    LGBTQ, Emergency housing in           52
      321 W 125th Street New   neycenter.org        222-     homelike apartments (Queens &
      York, NY 10027                                3427     Brooklyn)
                                                             can stay 1-6 months


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                                                                    waitlist (youth 16-20 wait 2 wks,
                                                                    21-24 wait 6 months)
                                                                    left message for return call

NYC   Trinity Place Shelter       http://trinityplaces   (646)      LGBTQ, transitional shelter                10
      164 W 100th Street          helter.org/            580-       emailed for info- no phone staff           beds
      New York, New York                                 7045       until evening
      10025

NYC   Streetworks overnight       https://www.safe       917-       Referral required, form can be             24       Fluctuati    Y and
      NYC (confidential           horizon.org/stree      507-       provided by email,                         (curre   ng           translatio
      location, address not       twork/                 1562,      Agees 16-20 with priority to 16/17         ntly     availabili   n
      disclosed until referred)                          Lauren     year olds                                  16       ty,          services
                                                         Manle      Undocumented is ok, no ID                  male,    unable       for other
                                                         y,         requirements                               8        to           language
                                                         lauren     Provides housing up to 60 days             femal    confirm      s
                                                         manle                                                 e)
                                                         y@str
                                                         eetwor
                                                         ks.safe
                                                         horizo
                                                         n.org



DC    Covenant House              http://covenantho 202-            Only serves 18-24yrs
      Washington DC               usedc.org/        610-
                                                    9600
      2001 Mississippi Ave SE
      Washington, DC

GA    Safe House Outreach         www.safehouseoutr      Melis      Do not offer housing, but serve hot
      89 Ellis St. NE             each.org                          meals twice daily at 11:30am and
      Atlanta, GA 30303
                                                         sa         6:30pm. They would love to serve these
                                                         Holc       children in any way we can. They could
                                                         ombe       also help with clothing and possible job
                                                                    connections.
                                                         {o}404.


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                                                  523.222
                                                  1
                                                  Ext:104

DC   Sasha Bruce Youthwork      sashabruce.org    202-      Left voicemail
     (has Barracks Row Drop                       675-
     in Center)                                   9340

                                                  plieber
                                                  @sash
                                                  abruce
                                                  .org

DC   Washington DC Lines to
     call

     DC Shelter Hotline: 202-
     399-7093

     Emergency Hotline: 202-
     463-6211


MA   ST Mary's Center for       programs@stma     617.43    Left VM; Bridge Home program is
     Women and Children         ryscenterma.org   6.8600    short term crisis housing for
                                                            children who have experienced
                                                            trauma. They have up to 12 beds
                                                            at any one time and serve children
                                                            newborn to 12.

MA   Bridge Over Troubled                         617-      Left VM; Emergency Residence is
     Waters                                       423-      short-term transitional residential
                                                  9575      program for homeless youth ages
                                                            14-24.

AZ   Tungland Corp                                877-      Multiple locations; waiting to call
                                                  886-      back from Sterling Bartow

                                                           13
                                                                                                  18
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                                                    4526

AZ   Tumbleweed               Recommended                     Designed for homeless teenagers
                              by CASA                         only

AZ   Child Care Resource                            800-      Awaiting callback for “licensed or
                                                    308-      certified” providers
                                                    9000

AZ   Catholic Charities       Phoenix               602-      Awaiting call back
                                                    285-
                                                    1999

AZ   Phoenix Rescue Mission   Phoenix                         Will not take single children; only
                                                              w/mother; limited space

AZ   Governor’s office        Ombudsman             602-      Awaiting call back
                                                    364-
                                                    0777

AZ   Angie’s House            www.angieshou         (928)     No Answer
                                                    301-
                              seaz.com              2169

AZ   Child Crisis Arizona     https://childcrisis   Amy       3 day emergency, assess for           42     Couldn’t   Yes
                              az.org/               Holstei   longer care, parents                  beds   say
                                                    n,        Age restrictions 0-10; beds 42
                                                    Directo   beds, one shelter;
                                                    r,
                                                    480-
                                                    969-
                                                    2308

AZ   Arizona Dept. of         https://des.az.go     Brett,    They don’t handle these issues
     Economic Security        v/services/aging-     no        only strict refugee settlement
                              and-                  numbe
                              adult/arizona-        r given


                                                            14
                                                                                                                            19
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                                refugee-
                                resettlement-
                                program

AZ   Cornerstone Mission        http://www.corne            They are a rural homeless shelter
     Project, Inc.              rstonemissionaz.            for persons over 18
                                org/

AZ   A New Leaf                 http://www.turna   Candy,   She couldn’t tell me whether they
                                newleaf.org/       volunt   can definitely accomodate,
                                                   eer      however she was sympathetic and
                                                   coordi   wanted to get us resources.
                                                   nator,
                                                   480-
                                                   969-
                                                   4024

AZ   Lutheran Social Services   http://www.lss-    Connie Left voicemail
     of the Southwest           sw.org/            , COO,
                                                   480-
                                                   396-
                                                   3795
                                                   Phone
                                                   tree

AZ   Catholic Social Service    www.ccs-           Dawn     Left voicemail
     Migration & Refugee        soaz.org           Dishm
     Services                                      an


MD   Loving Arms                http://lovingarmsi 443-     Serves youth 12–18 years old; do    Beds     Beds
                                nc.com/maryland 415-        not need to be documented           are      are
                                -division/         1174                                         availa   available
                                                                                                ble,
                                                                                                first


                                                           15
                                                                                                                     20
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                                                                                                  come
                                                                                                  first
                                                                                                  serve

MD   Kemp Mill Group Home                           301-     Serves males 13-18
     (Hearts and Homes for      http://heartsandh   679-
     Youth)                     omes.org/           1391
                                                    (left
                                                    messa
                                                    ge)

MD   John C. Tracey Girls’                          301-     Serves females 13-17                 8
     Home (Hearts and           http://heartsandh   679-
     Homes for Youth)           omes.org/           1391
                                                    (left
                                                    messa
                                                    ge)

MD   Jump Start Semi-                               301-     Serves males 17-20                   8
     Independent Living         http://heartsandh   679-
     Program for Boys (Hearts   omes.org/           1391
     and Homes for Youth)                           (left
                                                    messa
                                                    ge)

MD   YESS of Charles County     https://yessofcc.             Operate’s Sonya’s House
                                org/about/;                  https://yessofcc.org/sonyas-house/


MD   Promise Place                                  202-     Serves youth 12-24; must be          20
                                http://www.sasha    547-     documented resident of Prince
                                bruce.org/progra    7777,    George’s County (referred through
                                ms/safehomes/pr     240-     hotline at 888-731-0999)
                                omise-place/        764-
                                                    8274



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NYC   VERA Institute of Youth                     Krista    Large non-profit that handles Govt.
      Justice                                     Larsen    contracts, Director. Left voicemail.
                                                  , 212-    Additional contacts provided in
                                                  376-      email to Patrice.
                                                  3110

NYC   NYC Mayor’s Office of                       Sonia   Left voicemail and exchanged
      Immigrant Affairs                           Lin,    emails.
                                                  212-
                                                  788-
                                                  2831,
                                                  Gener
                                                  al
                                                  Couns
                                                  el &
                                                  Policy
                                                  Directo
                                                  r

VA    Virginia Refugee                            IRC       Contacted 18 offices. Left
      Resettlement Service                        Directo   voicemails. Ms. Kuhr advised US
      Providers                                   r,        Conf. of Catholic Bishops and
                                                  Harriet   Lutheran Immigration and Refugee
                                                  Kuhr,     Services, place unaccompanied
                                                  434-      children in foster care.
                                                  979-
                                                  7772,
                                                  x105

FL    Covenant House Florida -   http://www.coven (954)     80 youth including young mothers       80
      Fort Lauderdale            anthousefl.org/  561-      and their babies.
                                                  5559

FL    Covenant House Florida -   http://www.coven (407)     37 youth including young parents       37
      Orlando                    anthousefl.org/  482-      and their babies
                                                  0404


                                                           17
                                                                                                        22
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FL   Interface Youth Shelter,   http://www.cdsfl.    (352)     youth age 10-17                 20
     Gainesville                org/youth/interfa    244-
                                ce-youth-            0618
                                program-
                                shelters/

FL   Interface Youth Shelter,   http://www.cdsfl.    (386)     youth age 10-17                 20
     Palatka                    org/youth/interfa    385-
                                ce-youth-            0405
                                program-
                                shelters/

FL   Interface Youth Shelter,   http://www.cdsfl.    (386)     youth age 10-17                 20
     Lake City                  org/youth/interfa    487-
                                ce-youth-            0190
                                program-
                                shelters/

FL   Youth Crisis Center        https://youthcrisi   904.72    children and teens ages 10-17
     (Jacksonville)             scenter.org/our-     5.6662
                                programs/reside
                                ntial-program/

FL   Miami Bridge               http://miamibridg    305-                                      48   Y
                                e.org/emergency      635-
                                -shelter-care/       8953

FL   Arnette House              https://arnetteho (352)        10-17 year olds                 20
                                use.org/what-we- 622-
                                do/#Residential- 6135
                                Services

FL   Hidle House                http://www.ancho (850)         10-17.                          20
                                ragechildrensho  784-
                                me.org/hidle-    1020
                                house.htm


                                                              18
                                                                                                        23
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FL   Bridge Transitional Living   http://www.ancho (850)       ages 16-22
                                  ragechildrensho  481-
                                  me.org/bridge-   8501
                                  program.htm

FL   Hannah's House               http://www.ancho (850)       pregnant mothers ages 16-22 and their infants
                                  ragechildrensho  481-
                                  me.org/hannahs- 8501
                                  house.htm

FL   SafePlace2B                  http://www.family   (727)    10 to 17
                                  -                   298-
                                  resources.org/co    1606
                                  ntact-us/

FL   Someplace Else Crisis        http://www.ccys.    850-     10 to 17
     Shelter                      org/programs-at-    576-
                                  a-                  6000
                                  glance/someplac
                                  e-else-crisis-
                                  shelter/




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                          Exhibit 4
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                                    Declaration of
                                       DILSIA R


        I, Dilsia R                     declare under penalty of perjury that the following is true and correct
to the best of my knowledge and recollection.

   1. My date of birth is July 23, 1981. My daughter's name is                           She is 12 year old and
      was born on August 1, 2005. My daughter and I are from Honduras.

   2. We forced to flee from Honduras due to extreme violence and insecurity. My husband and my two sons
      already reside in the United States.

   3. We presented ourselves at the border about June 25, 2018. We were soaking wet and covered in mud
      from our journey across the river. The CBP officers that captured me yelled at me saying that he had
      kids himself and that in my position, he would never have put his children in this much risk. From that
      moment, we were taken to the "ice box" in our soaking wet clothes and covered in mud. We arrived at
      the ice box at 2am. When we arrived, we were searched and asked to take down our hair so that they
      could search our hair. We were later given a piece of bread with ham and a juice box in the ice box. We
      were starving but as we inspected the sandwich they took my daughter from me. I asked them where
      they took my daughter and they responded that she was in another room. She later told me that she was
      sent to a room by herself with another little girl.



   4. The only other contact I had with the officer was to be moved to another cell in the ice box. I did not
      sleep at all that night, it was too cold. My daughter told me she was freezing as well. I sat there on the
      ground without any type of bed and shivered until the next day. I was reunited with my daughter the
      next morning in order to take a photograph picture and take our finger prints. Later, we were loaded on
      to a bus to be transported.

   5. At 7 am the next day, we were taken to the "dog house." My daughter and I were again asked to let
      down our hair and lift our shirt to check our waists. Then they split us up again. However, this time I
      could actually see her through the metal fencing material. There we were given another sandwich with a
      water bottle and an apple. This time the sandwich was frozen. You could feel the ice when you bit into
      the sandwich. When they gave us sandwich for breakfast they put us in a cell. We were told to grab a
      thin mattress and throw it on the ground. We were given aluminum blankets.

   6. I was finally able to sleep on the mattress but shortly after a tall woman officer that was dressed on
      brown woke me up by kicking me. She said "you are not in your own house ... WAKE UP!" She ordered
      me to move to another room to answer questions. May daughter began to cry when I was taken away to
      another room. When she walked to the closest fence where I was taken, the official yelled at my
      daughter and said "What do you think you are doing over here? Do you want to get yourself deported
      right now?!" I found my daughter in tears when I saw her again.


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     7. We spent a day and a half in the dog house and the were transp
                                                                          orted to the ICE facilities in Dilley,
        Texas. I was officially reunited with my daughter when we loade
                                                                            d the bus to come to Dilley . My
        daughter,          got really sick on the bus ride to Dilley. She thinks the food from
                                                                                                the dog house made
        her sick and caused her to vomit repeatedly.

    8. We arrived in Dilley, Texas on or about June 27, 2018. Upon
                                                                        arrival, we received instructions and rules
       of the facility. After that a doctor took x-rays of our lungs and
                                                                         checked our blood pressure. In Dilley was
       the first time that we were able to shower. On June 28, 2018 at
                                                                          lunch was the first warm meal that we
       received. One June 29, 2018, my daughter has a medical appoi
                                                                         ntment, she was told to drink lots of water
       because she is very dehydrated as a result of her stomach illnes
                                                                         s that caused her to vomit.

    9. To date, I have met with one person about mine or my daugh
                                                                  ter's legal rights. His advice was that we
       might or may not get approved for asylum but we do not have
                                                                    any information regarding the next steps
       yet. We are hoping to be reunited with my husband soon.


I, Dilsia R       swear under penalty of perjury that the above declaration is true
                                                                                    and complete to the best of my
abilities. This declaration was provided in Spanish, a language
                                                                 in which I am fluent, and was read back to me in
Spanish.




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                                   Certi fie ate of Translation


I, Luisa Muskus, certify that I am fluent in English and Spanish and that I read the above declaration to Dilsia
R      in Spanish.




 u · aMuskus
Orrick Herrington and Sutcliffe
609 Main Street
Houston, Texas 77002




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  o(Q i-&\ \ -z,o I   e
Date




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                                        CERTIFICATE OF SERVICE
1
              I, Peter Schey, declare and say as follows:
2

3             I am over the age of eighteen years of age and am a party to this action. I am
4
        employed in the County of Los Angeles, State of California. My business address is
5
        256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
6

7             On July 19, 2018, I electronically filed the following document(s):
8
           • [REDACTED] EXHIBITS IN SUPPORT OF PLAINTIFFS’ RESPONSE TO
9            DEFENDANTS’ THIRD JUVENILE COORDINATOR REPORTS VOLUME
10           1 OF 12 [FILED UNDER SEAL PURSUANT TO ORDER OF THE
             COURT DATED JULY 16, 2018]
11

12      with the United States District Court, Central District of California by using the
13
        CM/ECF system. Participants in the case who are registered CM/ECF users will be
14
        served by the CM/ECF system.
15

16                                                   /s/Peter Schey
17                                                   Attorney for Plaintiffs

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